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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                                 :
                                  AUSTiN DIVISION

RICHARD MEYER,                                     §
                                                   §
         Plaintiff,                                §
                                                   §            CASE NO. 1:1 8-CV-00800-LY
V.                                                 §
                                                   §
MARK WAID,                                         §
                                                   §
         Defendant.                                §

                                           [I)   1 P] ai


         On this day came before the Court the parties' Unopposed and Joint Motion To Extend

Time to Respond to Defendant's Motion to Dismiss for Lack of Personal Jurisdiction and To File

Reply.

         The Court hereby GRANTS the motion to extend time. It is hereby ORDERED that

Plaintiffs response to the Motion to Dismiss will be due on or before April       12, 2019, and

Defendant's reply will be due on or before April 22, 2019.

         SIGNED               Tthay               of fr4.øt4t         ,2019.




                                                           HOBLE      L YEIEL
                                                           UNITED STATE DISTRICT JUDGE
